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     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
 6

 7
                       IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
      ROTHSCHILD BROADCAST                            CASE NO.: 5:21-cv-01848
      DISTRIBUTION SYSTEMS, LLC,
11
                            Plaintiff,                COMPLAINT FOR PATENT
12                                                    INFRINGEMENT
      v.
13

14    VIAAS, INC.,                                    JURY TRIAL DEMANDED

15                          Defendant.
16

17
                    Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
18

19   “Rothschild Broadcast Distribution Systems”) files this complaint against VIAAS, Inc.
20
     (“VIAAS”) for infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221
21
     Patent”) and alleges as follows:
22

23                  (A)    PARTIES
24
     1.       Plaintiff is a Texas limited liability company with an office at 1 East Broward
25
     Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
26

27   2.       On information and belief, Defendant is a Delaware corporation, with a place of
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
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 1
     business at 475-B Vandell Way, Campbell, California, 95008. On information and

 2   belief, Defendant may be served through its agent, Vcorp Services, LLC, 1013 Centre
 3
     Road, Suite 403-B, Wilmington, DE 19805.
 4

 5                 (B)    JURISDICTION AND VENUE

 6   3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et
 7
     seq. Plaintiff is seeking damages, as well as attorney fees and costs.
 8

 9   4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

10   Question) and 1338(a) (Patents).
11
     5.      On information and belief, this Court has personal jurisdiction over Defendant
12

13   because Defendant has committed, and continues to commit, acts of infringement in
14   this District, has conducted business in this District, and/or has engaged in continuous
15
     and systematic activities in this District.
16

17   6.      Upon information and belief, Defendant’s instrumentalities that are alleged
18
     herein to infringe were and continue to be used, imported, offered for sale, and/or sold
19
     in the District.
20

21   7.      Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is
22
     deemed to reside in this District.
23
                   (C)    BACKGROUND
24

25   8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”)
26
     duly and legally issued the `221 Patent, entitled “System and Method for Storing
27
     Broadcast Content in a Cloud-Based Computing Environment” after the USPTO
28

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 1
     completed a full and fair examination. The ‘221 Patent is attached as Exhibit A.

 2   9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221
 3
     Patent.
 4

 5   10.     Rothschild Broadcast Distribution Systems possesses all rights of recovery under

 6   the `221 Patent, including the exclusive right to recover for past, present and future
 7
     infringement.
 8

 9   11.     The `221 Patent contains thirteen claims including two independent claims

10   (claims 1 and 7) and eleven dependent claims.
11

12
                   (D)    COUNT ONE
                   (E)    (Infringement of United States Patent No. 8,856,221)
13

14   12.     Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same
15   as if set forth herein.
16
     13.     This cause of action arises under the patent laws of the United States and, in
17

18   particular under 35 U.S.C. §§ 271, et seq.
19
     14.     Defendant has knowledge of its infringement of the `221 Patent, at least as of the
20
     service of the present complaint.
21

22   15.     The ‘221 Patent teaches a method and apparatus for media content storage and
23
     delivery. ‘221 Patent, Abstract. Among other things, the claimed system includes a
24
     server, which has a receiver in communication with a processor. Id. The receiver
25

26   receives a request message. Id. The request message includes media data indicating
27
     requested media content and a consumer device identifier corresponding to a consumer
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 1
     device. Id. The processor determines whether the consumer device identifier

 2   corresponds to a registered consumer device. Id. If the processor determines that the
 3
     consumer device identifier corresponds to the registered consumer device, then the
 4

 5   processor determines whether the request message is one of a storage request message

 6   and a content request message. Id. If the request message is the storage request message,
 7
     then the processor is further configured to determine whether the requested media
 8

 9   content is available for storage. Id. If the request message is the content request

10   message, then the processor initiates delivery of the requested media content to the
11
     consumer device. Id.
12

13   16.   The present invention solves problems that existed with then-existing media
14   delivery systems. One problem with prior delivery systems is that the customer was
15
     charged according to the expenses of the provider rather than the usage of the customer.
16

17   ‘221 Patent, 1:31-57. Customers were not charged based on the amount of
18
     programming delivered or the amount or duration of the customer’s storage of media.
19
     Id. Another such problem, more generally, is that customers were not billed and
20

21   services were not provided, in a way that was tailored to the customer’s needs and
22
     usage. Id., 2:3-13.
23
     17.   A number of aspects of the invention(s) embodied in the ‘221 Patent overcome
24

25   the problems with the prior art. For example, the inventive system includes a processor
26
     in communication with a receiver. Id., 2:23-34. The processor determines media
27
     content characteristics that correspond to the media content to be stored. Id. The
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 1
     processor determines a length of time to store the media content based on the media

 2   data and determines a cost amount based at least in part on the determined media
 3
     content characteristics and length of time to store the media content. Id. As another
 4

 5   example, the system makes a determination that media content is available for

 6   download. Id., 2:64-3:2. A determination is made that content is not stored. Download
 7
     of the media content is initiated. Id. The media content is received and the received
 8

 9   media content is stored. Id.

10   18.   The ‘221 Patent is directed to computerized technologies to provide users with
11
     tailored media delivery systems and tailored billing for such systems. Among other
12

13   things, the ‘221 Patent claims include sending and receiving of request messages
14   indicating requested media content and including a device identifier corresponding to
15
     a consumer device. A determination is made whether the identifier corresponds to the
16

17   device. A determination is also made as to whether the request is for delivery or
18
     storage. The media data in the request includes time data that indicates a length of time
19
     for storage. A processor is configured to determine whether requested media exists and
20

21   whether there are any restrictions associated with delivery or storage of the requested
22
     media.
23
     19.   The system(s) and methods of the ‘221 Patent include software and hardware
24

25   that do not operate in a conventional manner. For example, the software is tailored to
26
     provide functionality to perform recited steps and the processor is configured (and/or
27
     programmed) to provide functionality recited throughout the claims of the ‘221 Patent.
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     20.   The ‘221 Patent solves problems with the art that are rooted in computer

 2   technology and that are associated with electronic transmission, loading, and storage of
 3
     location information, as well as automatic provisioning of route guidance. The ‘221
 4

 5   Patent claims do not merely recite the performance of some business practice known

 6   from the pre-Internet world along with the requirement to perform it on the Internet.
 7
     21.   The improvements of the ‘221 Patent and the features recited in the claims in the
 8

 9   ‘221 Patent provide improvements to conventional hardware and software systems and

10   methods. The improvements render the claimed invention of the ‘221 Patent non-
11
     generic in view of conventional components.
12

13   22.   The improvements of the ‘221 Patent and the features recitations in the claims of
14   the ’221 Patent are not those that would be well-understood, routine or conventional to
15
     one of ordinary skill in the art at the time of the invention.
16

17   23.   Upon information and belief, Defendant has infringed and continues to infringe
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     one or more claims, including at least Claim 7, of the ‘221 Patent by making, using,
19
     importing, selling, and/or offering for media content storage and delivery systems and
20

21   services covered by one or more claims of the ‘221 Patent.
22
     24.   Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent
23
     in violation of 35 U.S.C. § 271.
24

25   25.   Defendant sells, offers to sell, and/or uses media content storage and delivery
26
     systems and services, including, without limitation, the VIAAS video recording
27
     security platform, including any associated apps, software and/or hardware, and any
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 1
     similar products (“Product”), which infringes at least Claim 7 of the ‘221 Patent.

 2   26.   The Product practices a method of storing (e.g., cloud storage) media content
 3
     (e.g., video recording) and delivering requested media content (e.g., recorded video) to
 4

 5   a consumer device (e.g., mobile device with app). Certain aspects of these elements are

 6   illustrated in the screenshots below and/or in those provided in connection with other
 7
     allegations herein.
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     27.   The Product necessarily includes a receiver configured to receive a request
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24   message including data indicating requested media content (e.g., the Product must have
25
     infrastructure to receive a request to store recorded media content or to stream recorded
26
     media content on a smartphone; additionally, the request message must contain data
27

28   that identifies the content to be stored or streamed) and a consumer device identifier
                                                8
                       PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
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     corresponding to a consumer device (e.g., the user credentials are used to access the

 2   contents of the Product). Certain aspects of these elements are illustrated in the
 3
     screenshots below and/or in those provided in connection with other allegations herein.
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     28.   The Product necessarily determines whether the consumer device identifier
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     corresponds to the registered consumer device (e.g., a user must be a registered user to
15

16   access the Product’s services). Certain aspects of these elements are illustrated in the
17
     screenshots below and/or in those provided in connection with other allegations herein.
18
     29.   The Product provides for both media downloads and/or storage, and media
19

20   streaming. After a successful login, the Product necessarily determines whether the
21
     request received from a customer is a request for storage (e.g., recording or storing
22
     content) or content (e.g., streaming of media content). Certain aspects of these elements
23

24   are illustrated in the screenshots below and/or in those provided in connection with
25
     other allegations herein.
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                       PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
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     30.   The Product verifies that media content identified in the media data of the storage
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26   request message (e.g., request to record content) is available for storage in order to
27   prevent data errors that would result from attempting to store content that is not
28

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 1
     available for storage. The Product must verify that the media content (e.g. specific

 2   recording) identified in the media data of the storage request message is available for
 3
     storage in order to prevent data errors that would result from attempting to store content
 4

 5   that is not available for storage (e.g., the product must verify a user’s ability to store

 6   media is limited to a certain amount of memory usage based upon their subscription;
 7
     thus, media content may not be available for storage if a user is already above their
 8

 9   memory limit or if he hasn’t subscribed to any service). Certain aspects of these

10   elements are illustrated in the screenshots below and/or in those provided in connection
11
     with other allegations herein.
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28   31.   If a customer requests content (e.g., streaming of media content), then a processor
                                               13
                       PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
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 1
     within the Product necessarily initiates delivery of the content to the customer’s device.

 2   The Product will initiate delivery of the requested media content to the consumer device
 3
     (e.g., stream media content feed to a smartphone or tablet etc.) if the request message
 4

 5   is a content request message (e.g., request for live streaming). Certain aspects of these

 6   elements are illustrated in the screen shots below and/or in screen shots provided in
 7
     connection with other allegations herein.
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 8   32.   The media data includes date and time information that indicates a length of time

 9   to store the requested media content (e.g., a user is allowed to store media content for
10
     a retention time period as per their subscription level, which varies from 7 days to 90
11

12   days in the cloud). Certain aspects of these elements are illustrated in the screenshots
13   below and/or in those provided in connection with other allegations herein.
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                  PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
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 1
     33.    The Product must first determine whether the requested media content exists

 2   prior to initiating delivery in order to prevent data errors that would result from
 3
     attempting to transmit media content that does not exist (e.g., the product must verify
 4

 5   that a particular requested data is stored in the cloud). Certain aspects of these elements

 6   are illustrated in the screenshots below and/or in those provided in connection with
 7
     other allegations herein.
 8

 9   34.   After the processor determines whether the requested media content is available,

10   it determines whether there are restrictions associated with the requested media content
11
     (e.g., user access restrictions, etc.). Certain aspects of these elements are illustrated in
12

13   the screenshots provided in connection with other allegations herein.
14   35.     Defendant’s actions complained of herein will continue unless Defendant is
15
     enjoined by this Court.
16

17   36.     Defendant’s actions complained of herein is causing irreparable harm and
18
     monetary damage to Plaintiff and will continue to do so unless and until Defendant is
19
     enjoined and restrained by this Court.
20

21   37.     The `221 Patent is valid, enforceable, and was duly issued in full compliance
22
     with Title 35 of the United States Code.
23
     38.      A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast
24

25   Content in a Cloud-based Computing Environment,” is attached hereto as Exhibit A.
26
     39.   By engaging in the conduct described herein, Defendant has injured Plaintiff and
27
     is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
28

                                               17
                       PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
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 1
     40. Defendant has committed these acts of literal infringement, or infringement under

 2   the doctrine of equivalents of the `221 Patent, without license or authorization.
 3
     41.      As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff has
 4

 5   suffered monetary damages and is entitled to a monetary judgment in an amount

 6   adequate to compensate for Defendant’s past infringement, together with interests and
 7
     costs.
 8

 9   42.      Plaintiff is in compliance with 35 U.S.C. § 287.

10   43.       As such, Plaintiff is entitled to compensation for any continuing and/or future
11
     infringement of the `221 Patent up until the date that Defendant ceases its infringing
12

13   activities.
14                  (F)    DEMAND FOR JURY TRIAL
15
     44.      Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules
16

17   of Civil Procedure, requests a trial by jury of any issues so triable by right.
18
                    (G)    PRAYER FOR RELIEF
19
     WHEREFORE, Plaintiff asks the Court to:
20

21   (a)   Enter judgment for Plaintiff on this Complaint on all cases of action asserted
22
     herein;
23
     (b)      Enter an Order enjoining Defendant, its agents, officers, servants, employees,
24

25   attorneys, and all persons in active concert or participation with Defendant who
26
     receives notice of the order from further infringement of United States Patent No.
27
     8,856,221 (or, in the alternative, awarding Plaintiff running royalty from the time
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                          PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
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 1
     judgment going forward);

 2   (c) Award Plaintiff damages resulting from Defendants infringement in accordance
 3
     with 35 U.S.C. § 284;
 4

 5         (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled

 6   under law or equity.
 7

 8
     Dated: March 16, 2021                  Respectfully submitted,

 9                                          /s/ Stephen M. Lobbin
10                                          Stephen M. Lobbin
                                            sml@smlavvocati.com
11                                          SML AVVOCATI P.C.
12                                          888 Prospect Street, Suite 200
                                            San Diego, California 92037
13                                          (949) 636-1391 (Phone)
14
                                            Attorney(s) for Plaintiff Rothschild Broadcast
15                                          Distributions Systems, LLC
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT VIAAS, INC.
